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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  ROTHSCHILD BROADCAST                              )
  DISTRIBUTION SYSTEMS, LLC,                        )
                                                    )
                    Plaintiff,                      )   C.A. No. 20-392-MN
                                                    )
          v.                                        )
                                                    )
  DEEZER, INC.,                                     )
                                                    )
                    Defendant.                      )

          DEFENDANT DEEZER, INC.’S MOTION TO DISMISS COMPLAINT

        Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure and 35 U.S.C. § 101

Defendant Deezer, Inc. (“Deezer”) hereby moves to dismiss with prejudice Plaintiff Rothschild

Broadcast Distribution Systems, LLC Complaint (D.I. 1) for failure to state a claim upon which

relief may be granted. The grounds for this motion are set forth in Deezer’s Opening Brief, which

is submitted herewith.

                                                   Respectfully submitted,

                                                    POTTER ANDERSON & CORROON LLP

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  Dated: May 5, 2020
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